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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 LEAGUE OF WOMEN VOTERS OF MINNESOTA                    CIVIL NO. 20-CV-1205 (ECT/TNL)
 EDUCATION FUND AND VIVIAN LATIMER
 TANNIEHILL,

                          PLAINTIFFS,                        AMENDED PRETRIAL
                                                             SCHEDULING ORDER
 V.

 STEVEN SIMON, IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF STATE OF MINNESOTA,

                          DEFENDANT,

 AND

 DONALD J. TRUMP FOR PRESIDENT, INC.,
 THE REPUBLICAN NATIONAL COMMITTEE, AND
 REPUBLICAN PARTY OF MINNESOTA,

                    INTERVENOR DEFENDANTS.




       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of this
Court, and in order to secure the just, speedy, and less expensive determination of this action, the
following schedule shall govern these proceedings. This schedule may be modified only upon
formal motion and a showing of good cause as required by D. Minn. LR 16.3.

      1. Fact Discovery

            a. All pre-discovery disclosures required by Fed. R. Civ. P. 26(a)(1) shall be
               completed on or before August 3, 2020.

            b. Fact discovery shall be commenced in time to be completed on or before April 1,
               2021.

            c. No more than 25 Interrogatories, counted in accordance with Fed. R. Civ. P. 33(a),
               shall be served by any party.

            d. Each party agrees to abide by the Federal Rules of Civil Procedure and the Local
               Rules with respect to Document Requests.


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      e. Each party agrees to abide by the Federal Rules of Civil Procedure and the Local
         Rules with respect to Requests for Admission.

      f. No more than ten depositions, excluding expert witness depositions, shall be taken
         by any side.

      g. At this time, the Parties agree that a protective order is not necessary; however, if a
         protective order should be necessary, the parties shall jointly submit a proposed
         order. The sealing of entire pleadings, memoranda of law, exhibits, and the like is
         strongly discouraged. No document shall be filed under seal unless such document
         or information therein is genuinely confidential and/or there are compelling reasons
         to do so. Any party seeking to file a document under seal shall specifically review
         each document and the information therein to limit sealing only to the extent
         necessary. If a party files a document containing confidential information with the
         Court, it shall do so in compliance with the Electronic Case Filing Procedures for
         the District of Minnesota and Local Rule 5.6. Any joint motion made pursuant
         to Local Rule 5.6 before United States Magistrate Judge Tony N. Leung shall
         conform to Exhibit A attached hereto. Counsel shall provide the Court with two
         courtesy copies of the unredacted documents with the redacted information
         highlighted in yellow.

      h. Any party claiming privilege or protection of trial-preparation materials shall serve
         on the party seeking discovery a privilege log that complies with the requirements
         in Fed. R. Civ. P. 26(b)(5).

2. ESI Discovery Plan

      a. The parties shall preserve all electronic documents that bear on any claims,
         defenses, or the subject matter of the lawsuit. On or before August 15, 2020, the
         parties shall jointly CM/ECF file the agreement of the parties constituting their ESI
         Discovery Plan.

3. Expert Discovery

      a. Each side may call no more than three expert witnesses.

      b. Each side shall take no more than one deposition per expert.

      c. Disclosure of the identity of expert witnesses under Fed. R. Civ. P. 26(a)(2)(A) and
         the full disclosures required by Fed. R. Civ. P. 26(a)(2)(B), accompanied by the
         written report prepared and signed by the expert witness, shall be made as follows:

              i. Plaintiffs, Defendant and Intervenor Defendants
                     1. Identification by Plaintiff on or before April 1, 2021.
                     2. Report by Plaintiff on or before May 1, 2021.



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                     3. Rebuttal witness and reports shall be disclosed on or before June 1,
                        2021.

      d. Expert discovery, including depositions, shall be completed on or before June 15,
         2021.

4. Non-Dispositive Motions

      a. Non-dispositive motions may be scheduled for hearing by calling the Court’s
         Judicial Assistant and Calendar Clerk, Holly McLelland, at 612-664-5470.

      b. All motions which seek to amend the pleadings, including without limitation, a
         motion for leave to amend to add parties must be served on or before December
         30, 2020.

      c. Motions for leave to amend to add punitive damage claims must be served and filed
         on or before December 1, 2020.

      d. Except as to non-dispositive motion deadlines specifically set forth elsewhere in
         this Order, all non-dispositive motions and supporting documents, including those
         which relate to discovery, shall be served and filed on or before April 1, 2021.

      e. All non-dispositive motions and supporting documents which relate to expert
         discovery shall be filed and served on or before June 15, 2021.

      f. Prior to scheduling any non-dispositive motion, parties are strongly encouraged to
         consider whether the motion, including motions relating to discovery and
         scheduling, can be informally resolved through telephone conference with the
         Magistrate Judge. All non-dispositive motions shall be scheduled, filed and served
         in compliance with the Electronic Case Filing Procedures for the District of
         Minnesota and in compliance with D. Minn. LR 7.1 and 37.1.

      g. At the Rule 16 Scheduling Conference, the Court advised the parties that it is
         willing to resolve non-dispositive disputes between the parties on an informal basis
         via a telephone conference. However, before the Court will agree to proceed with
         this informal resolution mechanism, the "meet and confer" required by Fed. R. Civ.
         P. 37(a)(1) and D. Minn. LR 37.1 must have taken place, and all parties to the
         dispute must agree to use this informal resolution process as the very nature of the
         process is such that the parties are giving up rights they would otherwise have (e.g.,
         the dispute is heard over the phone; there is no recording or transcript of the phone
         conversation; no briefs, declarations or sworn affidavits are filed). If the parties do
         agree to use this informal resolution process, one of the parties shall contact
         Magistrate Judge Leung’s chambers to schedule the conference. The parties shall
         submit short letters prior to the conference to set forth their respective positions.
         The requesting party shall submit its letter 7 days prior to the conference; the
         responding party shall submit its letter 4 days prior to the conference. The Court
         will read the written submissions of the parties before the phone conference, hear


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          arguments of counsel at the conference, and if no one changes their decision during
          the phone conference regarding their willingness to participate in this informal
          resolution process, the Court will issue its decision at the conclusion of the phone
          conference or shortly after the conference. Depending on the nature of the dispute,
          the Court may or may not issue a written order. If there is no agreement to resolve
          a dispute through this informal resolution process, then the dispute must be
          presented to the Court via formal motion and hearing.

5. Dispositive Motions

      a. All dispositive motions must be filed and served by the moving party on or before
         August 15, 2021.

      b. Counsel for the moving party should schedule the hearing shortly before filing their
         motion papers by calling Rachael Morton, Courtroom Deputy for Judge Eric
         Tostrud, at 651-848-1190. The parties must comply with Local Rule 7.1 and the
         Electronic Case Filing Procedures Guide, Civil Cases.

      c. When scheduling a summary judgment hearing, the parties must notify the Court
         whether there will be cross-motions for summary judgment so that the Court may
         enter an appropriate briefing order. The parties should confer about the possibility
         of cross-motions before contacting chambers to schedule a summary judgment
         hearing.

      d. Two courtesy copies of all memoranda and one courtesy copy of all supporting
         documents should be delivered to Judge Tostruds’s chambers no later than the next
         business day after documents are filed on ECF. Judge Tostrud prefers that the
         courtesy copies be three-hold punched; unstapled; printed double-sided, if feasible;
         and, if voluminous, appropriately tabbed.

6. Status & Settlement Conferences

      a. The parties shall appear for a settlement conference with the Court on March 17,
         2021 at 10:00 a.m.

      b. On or shortly before September 3, 2020, October 6, 2020, December 1, 2020,
         February 5, 2021, and May 5, 2021, counsel for each party shall submit five
         CONFIDENTIAL letters to the Court setting forth with reasonable specificity the
         status of the case; the relative strengths and weaknesses of each party’s position; an
         update of efforts toward settlement; the last settlement positions of the parties;
         whether a settlement conference with a private mediator or the court would be
         productive; and a litigation budget. Each letter shall not exceed three pages. On or
         shortly before the date each such letter is due, counsel for the parties shall meet and
         confer to discuss the status of the case and discuss settlement.




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         c. A final settlement conference shall be scheduled by the Court on a later date when
            needed.

   7. Trial

         a. This case shall be ready for a Court trial on December 15, 2021.

         b. Anticipated length of trial is 3-5 days.

   8. Prior Orders and Remedies

         a. All prior consistent orders remain in full force and effect.

         b. Failure to comply with any provision of this Order or any other prior consistent
            Order shall subject the non-complying party, non-complying counsel and/or the
            party such counsel represents to any and all appropriate remedies, sanctions and the
            like, including without limitation: assessment of costs, fines and attorneys’ fees and
            disbursements; waiver of rights to object; exclusion or limitation of witnesses,
            testimony, exhibits and other evidence; striking of pleadings; complete or partial
            dismissal with prejudice; entry of whole or partial default judgment; and/or any
            other relief that this Court may from time to time deem appropriate.




      IT IS SO ORDERED.



Dated: December 1, 2020                             s/Tony N. Leung
                                                   Magistrate Judge Tony N. Leung
                                                   United States District Court
                                                   District of Minnesota

                                                   League of Women Voters of Minnesota
                                                   Education Fund et al. v. Simon
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